     Case 8:23-cv-00705-DOC-KES Document 1 Filed 04/24/23 Page 1 of 45 Page ID #:1



1    Julie Erickson, State Bar No. 293111
     julie@eko.law
2    Elizabeth Kramer, State Bar No. 293129
     elizabeth@eko.law
3    Kevin Osborne, State Bar No. 261367
     kevin@eko.law
4    Erickson Kramer Osborne LLP
     44 Tehama Street
5    San Francisco, CA 94105
     Telephone: (415) 635-0631
6    Facsimile: (415) 599-8088
7
     Attorneys for Plaintiff
8
                          UNITED STATES DISTRICT COURT
9

10                      CENTRAL DISTRICT OF CALIFORNIA
11

12   TAE RHO, individually and on behalf of Case No.: 8:23-CV-00705
     others similarly situated,
13
                                            CLASS ACTION COMPLAINT FOR
14
            Plaintiff,                      DAMAGES AND RELIEF AND
15
                                            DEMAND FOR JURY TRIAL

16   VS.                               COMPLAINT FOR:
17                                     1. Fraud;
                                       2. Negligent Misrepresentation;
18
     DREAMSOURCE CONSULTING LLC; 3. Unjust Enrichment;
19   PREDICTABLE PREMIUM R&D LLC; 4. Violation of the Unfair Competition
     ALBERTO RIEHL, an individual; and Law (Cal. Bus. & Prof. Code §§ 17200,
20
     DOES 1 through 10,                et seq.);
21                                     5. Violation of the False Advertising
         Defendants.                   Law (Cal. Bus. & Prof. Code §§ 17500,
22
                                       et seq.);
23                                     6. Violation of the Nevada Deceptive
24                                     Trade Practices Act (Nev. Rev. St. §§
                                       598.0901, et seq.); and
25                                     7. Violation of the New Jersey
26                                     Consumer Fraud Act (N.J. Stat. Ann. §§
                                       56:8-1, et seq.).
27

28


     CLASS ACTION COMPLAINT FOR DAMAGES AND RELIEF AND DEMAND FOR JURY TRIAL
                                              1
     Case 8:23-cv-00705-DOC-KES Document 1 Filed 04/24/23 Page 2 of 45 Page ID #:2



1          Plaintiff TAE RHO (“Plaintiff”), on behalf of himself and others similarly
2    situated (“the Classes”), brings this action against Defendants DREAMSOURCE
3    CONSULTING LLC; PREDICTABLE PREMIUM R&D LLC; and ALBERTO
4    RIEHL, an individual (collectively, “Defendants”) for actual damages suffered by
5    Plaintiff and the Classes, statutory damages, penalties, restitution, injunctive relief,
6    and for other recovery specified herein for harm caused by Defendants’ fraudulent
7    conduct, negligent misrepresentations, unjust enrichment, and violations of the
8    California Unfair Competition Law, the California False Advertising Law, the
9    Nevada Deceptive Trade Practices Act, and the New Jersey Consumer Fraud Act.
10   This Court has jurisdiction over this matter pursuant to 28 U.S.C.§ 1332 of the Class
11   Action Fairness Act of 2005, and based on the allegations in paragraphs 16 through
12   20 below. Plaintiff alleges upon information and belief, except as to his own actions,
13   the investigation of his counsel, and the facts that are a matter of public record, as
14   follows:
15                                    INTRODUCTION
16   1.    Insurance is a trillion-dollar industry in the United States, and the life
17   insurance sector is one of its largest and most important components. Life insurance
18   and annuities make up nearly half of the American insurance industry’s net
19   premiums, generating revenues that often exceed $150 billion annually according to
20   Forbes. The U.S. Bureau of Labor Statistics reports over 1.2 million Americans work
21   in life insurance industry sales field—a 35 percent increase from 10 years prior.
22   2.    Life insurance advertising is strictly regulated by state legislation and
23   insurance law enforcement offices throughout the country. Laws in many states,
24   including California, Nevada, and New York, regulate the manner and content of
25   life insurance advertising, compelling specific disclosures, prohibiting the use of
26

27

28


     CLASS ACTION COMPLAINT FOR DAMAGES AND RELIEF AND DEMAND FOR JURY TRIAL
                                                2
     Case 8:23-cv-00705-DOC-KES Document 1 Filed 04/24/23 Page 3 of 45 Page ID #:3



1    certain terms, and requiring carriers to implement companywide compliance
2    policies.1
3    3.     To comply with these regulations, insurance carriers implement policies
4    restricting the manner their in-house, or “captive,” agents may advertise their
5    products. For example, carriers generally prohibit new agents from making changes
6    to their social media profiles when the changes appear designed to generate new
7    business. They also prohibit new agents from delegating the generation of new leads
8    to third-party vendors or automated applications that contact and market to business
9    targets.
10   4.     Defendants DreamSource Consulting LLC and Predictable Premium R&D
11   LLC (collectively, “DreamSource”) sell an online consulting program called
12   “Predictable Premium” (also referred to herein as “the Program”), marketed to life
13   insurance agents with the promise of generating sales leads. The Program is designed
14   and directed by DreamSource’s founder, Defendant Alberto Riehl. Predictable
15   Premium is marketed as a program used successfully by agents from all major life
16   insurance companies, guaranteed to work for agents of any life insurance carrier, big
17   or small, and backed by a 100 percent money-back guarantee.
18   5.     In reality, the strategies and advertising content that make up the Predictable
19   Premium program violate numerous major life insurance companies’ internal
20   advertising rules, rendering the program worthless to agents working for those
21   companies. Defendants affirmatively misrepresent the quality, characteristics,
22   benefits, and nature of the Predictable Premium program as being compatible with
23   all major life insurance companies and omit the material fact that most, if not all, of
24   the Program’s strategies cannot be used by agents of such companies.
25

26

27

28
     1
      See, e.g., Cal. Code Regs., Tit. 10, §§ 2547-2547.11; NRS 686A.030-686A.050;
     N.Y. Comp. Codes R. & Regs. Tit. 11, §§ 219.1-219.7.
     CLASS ACTION COMPLAINT FOR DAMAGES AND RELIEF AND DEMAND FOR JURY TRIAL
                                               3
     Case 8:23-cv-00705-DOC-KES Document 1 Filed 04/24/23 Page 4 of 45 Page ID #:4



1    6.    Ultimately, the Predictable Premium program is not designed to help captive
2    agents sell insurance. Instead, it is an endeavor to convert agents participating in the
3    program into salespeople for the program itself.
4    7.    Additionally, Defendants refuse to honor the 100 percent money-back
5    guarantee. When dissatisfied customers inform Defendants that the program runs
6    afoul of carriers’ advertising policies, they are told they must complete more training
7    and pay Defendants more money. When those customers persist in demanding a
8    refund, they are blocked from group communication forums and privately threatened
9    with retaliation, including legal action and formal complaints to the insurance
10   carriers for whom they work. Eventually, Defendants block all means of contact
11   from dissatisfied customers and ignore their demands for the refunds that were
12   guaranteed in Defendants’ marketing.
13   8.    Plaintiff and the Classes are life insurance agents who bought into the
14   Predictable Premium program hoping to grow their customer base. Only upon
15   paying thousands of dollars to DreamSource did it come to light that the program
16   was little more than a set of prohibited advertising tools, including social media
17   posts, Facebook advertisements, and “bots,” that violated the policies of their
18   carriers, the largest insurance providers in the industry. Plaintiff and the Classes now
19   seek monetary and non-monetary relief to deter further fraud and remedy their
20   losses.
21                                      THE PARTIES
22   9.    Plaintiff Tae Rho is, and at all relevant times was, a resident of the state of
23   New Jersey. He is a registered/licensed life insurance agent in the states of New
24   York, New Jersey, and Texas and regularly works in New York and New Jersey for
25   the New York Life Insurance Company (“New York Life” or “NYL”). New York
26   Life is a mutual insurance company that offers life insurance, annuities, and other
27   financial products through individual agents, such as Plaintiff. In December 2013,
28   Plaintiff obtained a license to sell traditional insurance and annuity products. Shortly

     CLASS ACTION COMPLAINT FOR DAMAGES AND RELIEF AND DEMAND FOR JURY TRIAL
                                                4
     Case 8:23-cv-00705-DOC-KES Document 1 Filed 04/24/23 Page 5 of 45 Page ID #:5



1    after that, he started with New York Life as a “Pre-Training Allowance Subsidy”
2    (“PTAS”) agent, and New York Life trained him in basic sales and product servicing.
3    After this training and after he generated a pre-determined amount in commissions,
4    New York Life reclassified Plaintiff as a “Training Allowance Subsidy” (“TAS”)
5    agent, and his relationship was governed by a TAS contract. Plaintiff’s conduct as a
6    TAS agent was closely monitored by New York Life’s compliance department. All
7    advertisements and social media posts were screened to ensure they complied with
8    the company’s strict advertising policies. Plaintiff’s job responsibilities included
9    “prospecting” for new individuals or businesses who might be interested in New
10   York Life products and approaching such prospective clients. New York Life taught
11   Plaintiff to explain who he was and what he did in a specific manner to ensure he
12   complied at all times with the company’s policies. Plaintiff purchased the
13   Predictable Premium from Defendants based on their representations that it
14   complied with all major life insurance companies’ advertising policies, including
15   those of New York Life. After paying approximately $5,800 for Defendants’
16   Predictable Premium program and beginning the process of implementing its
17   methodologies, Plaintiff was informed by New York Life’s compliance department
18   that the Program’s content and practices were prohibited by New York Life policies.
19   After Plaintiff made several requests for a return of the money he paid to Defendants,
20   Defendants stopped communicating with Plaintiff, blocked his access to the program
21   materials, and threatened to report him to New York Life’s compliance department.
22   To date, Defendants have not refunded Plaintiff in any amount.
23   10.   Defendant DreamSource Consulting LLC (“DreamSource”) is, and at all
24   relevant times was, a corporation organized under the laws of the State of Nevada
25   and operating from locations in California. The lone officer of DreamSource
26   Consulting LLC is manager Sarah Davidian, the wife of DreamSource founder and
27   Defendant Alberto Riehl. Registration documents for DreamSource filed with the
28   Nevada Secretary of State list the address 2300 West Sahara Ave., Suite 800, in Las

     CLASS ACTION COMPLAINT FOR DAMAGES AND RELIEF AND DEMAND FOR JURY TRIAL
                                               5
     Case 8:23-cv-00705-DOC-KES Document 1 Filed 04/24/23 Page 6 of 45 Page ID #:6



1    Vegas, Nevada. However, this address is used as a “virtual address” and fictitious
2    residency. DreamSource Consulting LLC has no physical presence at this location
3    or any other location in Nevada. The company identifies its own address, “primary
4    office,” and “headquarters” as an office located at 30025 Alicia Pkwy in Laguna
5    Niguel, California. Numerous employees of DreamSource Consulting LLC during
6    the relevant period worked in California.
7    11.    Predictable Premium R&D LLC is, and at all relevant times was, a
8    corporation, organized and existing under the laws of the State of Nevada. The lone
9    officer of Defendant Predictable Premium R&D LLC is manager Sarah Davidian,
10   the wife of Defendant Alberto Riehl, who uses the address 1930 Village Center
11   Circle, #3-8525, in Las Vegas, Nevada as her address in registration documents filed
12   with the Nevada Secretary of State. This address too is used as a “virtual address”
13   and fictitious residency. Predictable Premium R&D LLC has no physical presence
14   in this location.
15   12.    Defendant Alberto Riehl is an individual residing in Portland, Oregon. Based
16   on information and belief, at all relevant times Defendant Riehl has maintained a
17   residence at 30902 Club House Drive in Laguna Niguel, California. Defendant Riehl
18   is the founder of Defendant DreamSource Consulting LLC and Predictable Premium
19   R&D LLC and refers to himself variably as the companies’ “Chief Technology
20   Officer,” “Chief Executive Officer,” and “Consultant.”
21   13.    The true names and capacities of Defendants sued in the Complaint under the
22   fictitious names of Does 1 through 10, inclusive, are unknown to Plaintiff who
23   therefore sues such Defendants by such fictitious names. Plaintiffs will amend this
24   complaint to add the true names when they are ascertained. Plaintiffs are informed
25   and believe and thereon allege that each of the fictitiously named Defendants is
26   legally responsible for the occurrences herein alleged, and that Plaintiffs’ damages
27   as herein alleged were proximately caused by their conduct.
28


     CLASS ACTION COMPLAINT FOR DAMAGES AND RELIEF AND DEMAND FOR JURY TRIAL
                                                 6
     Case 8:23-cv-00705-DOC-KES Document 1 Filed 04/24/23 Page 7 of 45 Page ID #:7



1    14.   At all relevant times, all Defendants were and are legally responsible for all
2    of the unlawful conduct, policies, practices, acts, and omissions as described in each
3    and all of the foregoing paragraphs, unless otherwise indicated.
4    15.   At all relevant times, the unlawful conduct against Plaintiff and members of
5    the Classes as described in each and all of the foregoing paragraphs was actuated, in
6    whole or in part, by a purpose to serve all Defendants. At all relevant times, upon
7    information and belief, the unlawful conduct described in each and all of the
8    foregoing paragraphs was reasonably foreseeable by all Defendants and committed
9    under actual or apparent authority granted by all Defendants to all other Defendants
10   such that all of the aforementioned unlawful conduct is legally attributable to all
11   Defendants.
12                            JURISDICTION AND VENUE
13   16.   This action is brought as a class action under theories of common law fraud,
14   negligent misrepresentation, and unjust enrichment, as well as violations of
15   California’s Unfair Competition Law (Bus. & Prof. Code §§ 17200, et seq.) (“UC”)
16   and False Advertising Law (Bus. & Prof. Code §§ 17500, et seq.) (“FAL”), Nevada’s
17   Deceptive Trade Practices Act (Nev. Rev. St. §§ 598.0901, et seq.) (“NDTPA”), and
18   New Jersey’s Consumer Fraud Act (N.J. Stat. Ann. §§ 56:8-1, et seq.) (“NJCFA”),
19   among other laws.
20   17.   This Court has specific jurisdiction for the claims set forth herein because
21   Defendants have, at all times relevant to this matter, individually or through agents,
22   subsidiaries, officers or representatives, operated, conducted, engaged in and carried
23   on a business venture in this state and maintained an address in this state; marketed,
24   advertised, distributed and sold its program in this state; committed a statutory
25   violation within this state related to the allegations made herein and directed at
26   consumers in this state; and caused injuries to Plaintiff and proposed Class Members,
27   which arose out of the acts and omissions that occurred in the state of California.
28


     CLASS ACTION COMPLAINT FOR DAMAGES AND RELIEF AND DEMAND FOR JURY TRIAL
                                               7
     Case 8:23-cv-00705-DOC-KES Document 1 Filed 04/24/23 Page 8 of 45 Page ID #:8



1    18.   This Court has personal jurisdiction over Defendants DreamSource
2    Consulting LLC, Predictable Premium R&D LLC, and Alberto Riehl because
3    Defendants do business in the state of California such that they have purposely
4    availed themselves of the privilege of conducting activities in this forum and the
5    claims asserted herein arise from conduct occurring in California. DreamSource
6    regularly transacts business in California. DreamSource states in marketing
7    materials and advertising that its primary office and headquarters is located at 30025
8    Alicia Parkway, in Laguna Niguel, California; DreamSource’s main method of
9    operation and communication with its customers, a Facebook page, states it is
10   located in Laguna Niguel, California; a majority (approximately 55 percent) of
11   Defendants’ employees and sales people reside in and conduct business on behalf of
12   Defendants from within California; the only officer listed in DreamSource’s
13   corporate filings maintained a residence in California during the relevant period; a
14   substantial number of DreamSource’s customers (approximately 65 percent) resided
15   in California and were present in California when exposed to Defendants’ marketing
16   material, when they entered agreements with and paid funds to Defendants, and
17   when they participated in Defendants’ Predictable Premium program; a substantial
18   number of Defendants’ employees and sales people and Defendants’ customers,
19   referenced above, possess evidence at their residences in California; during the
20   relevant period, Defendant Alberto Riehl maintained a residence in and conducted
21   business from within California; and, while registered with the Nevada Secretary of
22   State as a Nevada-based limited liability corporation, DreamSource has no physical
23   or mailing address in Nevada, maintains virtually no business presence in the state
24   of Nevada, few if any of the known witnesses reside in Nevada, little if any of the
25   evidence relevant to the matter is located in Nevada, and the only officer of
26   DreamSource listed in the corporate documents filed with the Nevada Secretary of
27   State does not now and has never resided in Nevada during the relevant period.
28


     CLASS ACTION COMPLAINT FOR DAMAGES AND RELIEF AND DEMAND FOR JURY TRIAL
                                               8
     Case 8:23-cv-00705-DOC-KES Document 1 Filed 04/24/23 Page 9 of 45 Page ID #:9



1    19.   This Court has subject matter jurisdiction over this matter pursuant to 28
2    U.S.C.§ 1332 of the Class Action Fairness Act of 2005 because: (i) there are 100 or
3    more proposed Class Members, (ii) the aggregate amount in controversy exceeds
4    $5,000,000, exclusive of interest and costs, and (iii) there is minimal diversity
5    because a substantial number of proposed Class Members are citizens of states
6    different from Defendants. This Court has supplemental jurisdiction over Plaintiff’s
7    state law claims pursuant to 28 U.S.C. § 1367.
8    20.   Venue is proper pursuant to 28 U.S.C. § 1391(b)(2) because a substantial part
9    of the events giving rise to the claims asserted occurred in this District. Venue is also
10   proper pursuant to 28 U.S.C. § 1391(c) because Defendants conduct substantial
11   business in this District, have sufficient minimum contacts with this District, and
12   otherwise purposely avail themselves of the markets in this District, through the
13   promotion, sale, and marketing of its program in this District. During the relevant
14   time period, Defendants conducted business in and throughout Orange and Los
15   Angeles Counties, including through an address maintained in Laguna Niguel,
16   California, and Defendants’ employees and sales people resided in and conducted
17   Defendants’ business from Orange and Los Angeles Counties. A substantial number
18   of Defendants’ customers entered into agreements with and made payments to
19   Defendants from within this judicial district. Additionally, Defendant Alberto Riehl
20   maintained a residence and conducted business within this District during the
21   relevant period.
22                              FACTUAL ALLEGATIONS
23                                 Life Insurance Industry
24   21.   Life insurance agents make a living by earning commissions from the sales of
25   life insurance policies. Finding potential customers is challenging and time-
26   consuming and thus a key part of the job is generating customer leads. Traditional
27   lead-generation strategies include in-person networking and prospecting, as well as
28   “cold calling” and telephone marketing. This is a daunting task, made even more

     CLASS ACTION COMPLAINT FOR DAMAGES AND RELIEF AND DEMAND FOR JURY TRIAL
                                                9
     Case 8:23-cv-00705-DOC-KES Document 1 Filed 04/24/23 Page 10 of 45 Page ID #:10



1      difficult during the COVID-19 pandemic when in-person marketing was not
2      possible. As such, online marketing and lead generation have become critical to life
3      insurance agents in the current market.
4      22.     Additionally, other types of insurance, including homeowner or renter,
5      commercial, professional, and automobile, are generally required by law or contract.
6      Life insurance, meanwhile, is rarely mandatory and is usually voluntarily purchased
7      by the insured, making competition for such sales even more intense, and securing
8      leads even more vital for agents to sustain their business.
9      23.     Life insurance agents sell life insurance policies offered by insurance carriers.
10     Agents are either “captive,” meaning they only sell insurance from one company, or
11     “independent,” meaning they sell the products of multiple insurance carriers. Most
12     medium to large insurance carriers require newly hired captive agents to undergo
13     training as to the products they will be selling, including the manner in which they
14     are allowed to advertise their products. This training is in addition to the state-
15     specific licensing requirements that agents must meet.
16             New York Life and the Life Insurance Industries’ Major Carriers
17     24.     As marketing comprises a large part of an agent’s work, most of the large life
18     insurance carriers have comprehensive rules that govern how their agents can
19     advertise and market to ensure compliance with a host of applicable laws and
20     regulations. For example, New York Life—one of the largest life insurance carriers
21     and the carrier for which Plaintiff works—requires that its agents use only pre-
22     approved marketing and sales content and prohibits any marketing strategy that is
23     not pre-approved or otherwise expressly allowed. To ensure strict compliance,
24     agents’ online marketing is overseen by the company and agents who violate the
25     rules are subject to discipline and potential termination.
26     25.     New York Life is the third largest life insurance company in the U.S. by
27     market share, with over $14 billion in total life insurance premiums collected in
28     2021.

       CLASS ACTION COMPLAINT FOR DAMAGES AND RELIEF AND DEMAND FOR JURY TRIAL
                                                   10
     Case 8:23-cv-00705-DOC-KES Document 1 Filed 04/24/23 Page 11 of 45 Page ID #:11



1      26.   Like many carriers, New York Life imposes strict and complex rules on
2      insurance advertising. In New York, where New York Life is based, life insurance
3      carriers must comply with Title 11 of the New York Codes, Rules, and Regulations,
4      section 219.4, which is a 25-part code governing the “form, content and disclosure
5      requirements of advertisements” for insurance products. The law prohibits the use
6      of many specific terms and phrases in insurance advertising and identifies others as
7      “misleading or capable of being deceptive,” in violation of the law. New York
8      Insurance Law, section 2122 further requires certain disclosures appear in all
9      insurance-related advertising. Insurance Law section 2123 again prohibits certain
10     misleading advertising language and requires additional disclosures in insurance
11     advertising. Violations of sections 2122 or 2123 may result in penalties or
12     suspension under section 2127. In order to comply with regulations such as these,
13     New York Life’s compliance department strictly monitors and pre-screens its
14     agents’ advertising.
15     27.   New York Life issues its agents a compliance questionnaire each year
16     requiring they agree to the following restrictions:
17           All advertising material must be approved in advance by New York
18           Life, including posts to internet sites, electronic bulletin boards, and
             emails.
19
             Agents may not create or claim personal advertisements on unapproved
20
             websites such as Google My Business, Yelp, or Alignable.
21
             Agents may not use outside vendors to place calls or send text messages
22           on their behalf.
23           Agents obtain a prospect’s express approval before sending them an e-
24
             mail.

25           Agents generally may not communicate with clients via text for
             business purposes.
26
             To utilize social networking sites, such as Facebook, LinkedIn and
27
             Twitter, agents must be enrolled in a particular program and complete
28           all of that program’s requirements.

       CLASS ACTION COMPLAINT FOR DAMAGES AND RELIEF AND DEMAND FOR JURY TRIAL
                                                 11
     Case 8:23-cv-00705-DOC-KES Document 1 Filed 04/24/23 Page 12 of 45 Page ID #:12



1            Posts to social networking sites or changes to social networking profiles
             may not include business related content, may not display any business
2            telephone or business email contact information, and may not list the
3            agents “Skills or Expertise.”
4            Any changes to an agent’s social media profiles must be submitted to
             and approved by New York Life.
5
       28.   In addition to the annual questionnaire, New York Life’s Group Membership
6
       Association Division distributes to its agents an “Advertising Style Guide,” intended
7
       to provide a basic set of rules for drafting marketing materials. The Guide’s
8
       introduction begins by stating, “Marketing Material must be reviewed by New York
9
       Life … Final drafts, encompassing all requested revisions, must be admitted for final
10
       approval before marketing material can be released for production.”
11
       29.   Agents who send any type of solicitation, including calls, texts, faxes, and
12
       emails, that violate New York Life’s advertising policies can be fined, subject to
13
       disciplinary action, and terminated.
14
       30.   Based on information and belief, all major life insurance carriers in the U.S.,
15
       including, inter alia, Northwestern Mutual, MassMutual, Prudential, and State Farm,
16
       implement restrictions regarding their advertising policies, especially for their newer
17
       agents. Each of these carriers demands that some or all of their agents submit all
18
       marketing materials, including social media posts and profiles, to an internal
19
       compliance auditor for pre-screening. They further prohibit the use of third-party
20
       vendors or unaffiliated “bot” applications (software designed to repeatedly perform
21
       automated, pre-defined tasks) to make contact with business leads or customers.
22
                                          DreamSource
23
       31.   Alberto Riehl is a former insurance agent. Prior to 2005, he was a registered
24
       retail insurance producer in Texas. Retail insurance producers are hired by insureds
25
       to procure insurance coverage appropriate for the risk being insured. They act as the
26
       agents of the insureds and, based upon their due diligence, pick the insurance product
27
       to be purchased by the insureds. They earn commissions by selling insurance plans.
28


       CLASS ACTION COMPLAINT FOR DAMAGES AND RELIEF AND DEMAND FOR JURY TRIAL
                                                 12
     Case 8:23-cv-00705-DOC-KES Document 1 Filed 04/24/23 Page 13 of 45 Page ID #:13



1      32.   In 2002, Riehl was issued licenses to sell life insurance in California, Florida,
2      Pennsylvania, and Ohio, under the name “Albert Riehl” and through MassMutual
3      Ascend Life Insurance Company. His California and Florida licenses soon lapsed,
4      his Pennsylvania license was suspended, and his Ohio license was revoked by order
5      of the Insurance Commissioner in 2005. Also in 2005, Riehl was issued a license to
6      sell real estate by the Hawaii Real Estate Commission. This license was suspended
7      in 2008. In 2009, Riehl obtained an Insurance Producer license from the Insurance
8      Division of the Hawaii Department of Commerce and Consumer Affairs. This
9      license too was revoked in 2013.
10     33.   In or around 2016, while living in Laguna Niguel, California, Riehl formed
11     the DreamSource Consulting limited liability corporation and filed registration
12     paperwork for the company with the Nevada Secretary of State. All corporate
13     documents were created under his wife’s name. His wife, Sarah Davidian, remains
14     its only officer. Riehl, however, is the face of the company, appearing in all its
15     advertisements, Facebook and YouTube videos, and instructional materials.
16     34.   Since 2016, DreamSource has offered an online consulting program to life
17     insurance agents that is “guaranteed” to generate leads. DreamSource markets and
18     advertises the program, known as “the Predictable Premium System” (also referred
19     to herein as the “Program”), on websites such as Facebook, LinkedIn, and YouTube.
20     35.   In nearly all its advertisements and marketing material, DreamSource touts
21     these three primary benefits of the Program: (1) guaranteed lead generation; (2)
22     approval from major insurance carriers; and (3) a money-back guarantee. Since at
23     least 2020 and on an ongoing basis, DreamSource has continually stated on its
24     Facebook page and its website that, for approximately $6,000, customers can
25     purchase and use the Program’s “scientific process” to generate leads to enable
26     agents to reach their premium targets as fast as possible; that the Program is a
27     “formula,” which when “applied correctly [] works 100% of the time”; that the
28     Program is not just compatible with, but beloved by, large institutional carriers; that

       CLASS ACTION COMPLAINT FOR DAMAGES AND RELIEF AND DEMAND FOR JURY TRIAL
                                                 13
     Case 8:23-cv-00705-DOC-KES Document 1 Filed 04/24/23 Page 14 of 45 Page ID #:14



1      the “largest insurance companies in the industry are flocking to us” and frequently
2      named several carriers including Met Life, Prudential, State Farm, and New York
3      Life; and that the Program is backed by a 100 percent money-back guarantee.
4      36.   Agents interested in the Program sign up online or send a message to the
5      company via Facebook or YouTube asking for more information. After indicating
6      their interest in the Program, the prospective customers are contacted by a
7      DreamSource sales representative, usually by phone or email, after which the
8      prospective customer completes paperwork to enroll in the Program and remits
9      payment. Based on information and belief, all DreamSource sales representatives
10     besides Alberto Riehl are either enrolled in or have completed the Program
11     themselves.
12     37.   The Program is administered online. It consists of eight “lessons.” The lessons
13     require agents to follow specific marketing actions, such as updating their LinkedIn
14     profiles to include particular language, using a scripted sales pitch during cold calls,
15     using pre-recorded video advertisements, and using bots on social media sites like
16     Facebook. In addition to the lessons, the Program offers one year of “live support”
17     with its founder, Alberto Riehl. During these bi-weekly online sessions, agents are
18     promised “1 on 1 time with Alberto Riehl to get all their questions answered.” The
19     live support is conducted in a group setting, so all participants can hear the other
20     questions and answers. Finally, a “secret” Facebook group, to which the agents are
21     added upon completing their orientation, offers another forum for questions and
22     answers.
23     38.   The Program is described in its salespeople’s LinkedIn profiles, which are all
24     identical to one another and are scripted by Defendants, as an “amazing automated
25     system” and “100% automated.” “His very 1st FULLY... I mean, 100% Automated
26     Life Insurance Appointment had just been booked!!!” and “We Help Agents &
27     Advisors Get 8 Life Insurance Appointments a Day 100% Automated from
28     Anywhere.”

       CLASS ACTION COMPLAINT FOR DAMAGES AND RELIEF AND DEMAND FOR JURY TRIAL
                                                 14
     Case 8:23-cv-00705-DOC-KES Document 1 Filed 04/24/23 Page 15 of 45 Page ID #:15



1      39.     DreamSource and Riehl have continuously and uniformly represented that the
2      Program complies with all major life insurance carriers’ marketing rules. Since at
3      least 2020 and on an ongoing basis, DreamSource has continually stated on its
4      Facebook page and its website that the Predictable Premium program has been
5      successfully used by agents from all the major life insurance companies, including
6      New York Life. In pre-sales communications with DreamSource representatives,
7      including Kevin Knight and Mario Gamboa, Plaintiff and prospective customers
8      directly asked whether the Program complied with their company’s sales and
9      marketing rules and DreamSource uniformly answered that it did. Defendants also
10     marketed the Program using “testimonials” supposedly written by agents from New
11     York Life, attesting to its success. In an “Ebook” titled “3%er Secrets,” Riehl claims
12     he has done:
13             “full time consulting, training, and coaching for some of the largest
14             insurance companies in the world – from State Farm Farmers and
               Allstate to Northwestern Mutual, Mass Mutual, New York Life
15
               Prudential, TransAmerica, Guardian, and a lot of independent brokers
16             out there as well and all the major IMOs [independent marketing
               organizations] and FMOs [field marketing organizations].”
17
       40.     DreamSource used the names of the major insurance companies such as New
18
       York Life, Met Life, Prudential, Allstate, State Farm, and Farmers in marketing
19
       videos and articles as well as promotional interviews with Riehl.2 DreamSource and
20
       Riehl claimed that they have thousands of agents and advisors who were students of
21
       the program and that their method would work for all agents from any insurance
22
       company, big or small. They emphasized that the program was especially successful
23
       among New York Life agents. Representations on the DreamSource website include:
24
               We have from State Farm guys, and Allstate, and Farmers, and all those
25
               guys. They come to us for one reason, I need to get my life insurance
26             sales up. We even have the Northwestern Mutual guys, and the
27

28
       2
           See https://www.youtube.com/watch?v=YFn0up4rYYs.
       CLASS ACTION COMPLAINT FOR DAMAGES AND RELIEF AND DEMAND FOR JURY TRIAL
                                                 15
     Case 8:23-cv-00705-DOC-KES Document 1 Filed 04/24/23 Page 16 of 45 Page ID #:16



1            MassMutual, and Prudential, and New York Life, and all those guys as
             well.
2
             I see these big companies which today, we’re very blessed. Every major
3
             company, we have every major company as a client, whether it’s New
4            York Life or Prudential or State Farm or Farmers. You can just list them
             all. They’re clients today.
5
       41.   As DreamSource and Riehl have worked in the life insurance industry for
6
       many years and have had many customers who have worked for major life insurance
7
       carriers, and based on Riehl’s self-proclaimed training, coaching, and consulting
8
       experience with large carriers including NYL, they knew the above-described
9
       statements regarding the Program’s compatibility with NYL and other large carriers
10
       were false at the time they made them. DreamSource and Riehl knew that it was
11
       important to potential customers to believe that the Program was compatible with
12
       their carriers’ rules and so, despite the falsity of the statements, they made them
13
       anyway in order to induce potential customers to buy the Program.
14
                      Predictable Premium Uses Advertising Strategies
15
                                 That Violate Carrier Policies
16
       42.   In reality, almost none of the tactics peddled by the Predictable Premium
17
       program complied with insurance companies’ rules.
18
       43.   The Program called for agents to update their LinkedIn profiles with language
19
       that does not and cannot comply with the insurance industry marketing rules,
20
       including New York Life’s.
21
       44.   Lessons involved the use of bots, Facebook advertisements, virtual assistants,
22
       and various automated sales strategies, which violated insurance company rules
23
       prohibiting such marketing devices.
24
       45.   After Plaintiff paid for the Program, he forwarded the program’s scripted
25
       marketing materials to New York Life’s compliance department for review, as
26
       required by company policy. New York Life’s compliance department informed
27
       Plaintiff that he may not use any of the Predictable Premium materials because the
28


       CLASS ACTION COMPLAINT FOR DAMAGES AND RELIEF AND DEMAND FOR JURY TRIAL
                                               16
     Case 8:23-cv-00705-DOC-KES Document 1 Filed 04/24/23 Page 17 of 45 Page ID #:17



1      language violated its advertising restrictions. Moreover, Plaintiff was told he could
2      not implement the many “100% automated” applications and strategies on which the
3      Program was based.
4      46.   Numerous other customers of Predictable Premium were told the same. New
5      York Life’s compliance department informed one agent she would be subject to
6      penalties if she used the Program’s virtual assistant and telemarketing protocols.
7      During one of the Program’s weekly group Question & Answer phone calls with
8      Riehl, the agent confronted Riehl with the compliance department’s decision and
9      Riehl responded that other New York Life agents are able to use all elements of the
10     Program, including virtual assistants, without restriction. Based on his experience in
11     the life insurance industry and direct experience with many NYL agents, Riehl knew
12     this statement was false at the time but said it anyway in order to pacify the agent
13     and avoid having her raise alarm bells with the other customers listening in during
14     the call. The agent communicated Riehl’s reassurance to a New York compliance
15     manager, who responded “he has no idea what he’s talking about.”
16     47.   When confronted by other agents worried about running afoul of their
17     companies’ rules, Riehl brushed off the concerns, stating that he was well versed in
18     all of the big companies’ marketing rules and confirming that the Program was fully
19     compliant with them. When pushed further, often by agents who had been
20     reprimanded for violating their companies’ rules or denied approval to implement
21     one of the Program’s strategies, Riehl used gaslighting tactics to try to shift the blame
22     to the agents, accusing them of not trying hard enough. Other times, Riehl became
23     hostile and banned the complaining agents from the Program altogether. In all
24     instances, Riehl and DreamSource denied agents’ requests for reimbursement, as it
25     was their policy to do so.
26     48.   Because the Program violates carrier advertising restrictions, it is valueless to
27     any agent working for New York Life or one of the other large insurance companies
28     with restrictive advertising policies.

       CLASS ACTION COMPLAINT FOR DAMAGES AND RELIEF AND DEMAND FOR JURY TRIAL
                                                  17
     Case 8:23-cv-00705-DOC-KES Document 1 Filed 04/24/23 Page 18 of 45 Page ID #:18



1      49.   The Program is a classic bait-and-switch scheme. Material information about
2      the Program itself, the underlying lessons, and money-back guarantee were omitted
3      by Riehl and by the Program’s sales representatives and advertising materials and
4      were not disclosed or made known to Plaintiff or members of the Classes prior to
5      their purchase of and enrollment in the Program. Defendants falsely represented that
6      the Program produces guaranteed success for agents of all life insurance companies
7      in order to induce customers to pay a fee of nearly $6,000. Only after, with the
8      agent’s money in hand, were the Program’s strategies revealed, in successive steps,
9      each one violative of the agent’s employer’s established rules. Defendants also
10     defrauded Plaintiff and the Classes about the availability of a money-back guarantee.
11     Defendants induced Plaintiff and Class members to purchase the Program by
12     promising to refund 100 percent of their purchase price if the Program did not
13     produce the promised results. However, when Plaintiff and Class members requested
14     their money be refunded, Defendants refused to honor that promise.
15     50.   Plaintiff and the Classes had no way of knowing that the Program’s strategies
16     would be unusable until after they had already paid Defendants. Defendants’
17     promise of guaranteed lead generation was highly enticing to life insurance agents,
18     including Plaintiff and members of the Classes, looking to meet their quotas.
19     Defendants’ promise of a money-back guarantee made the Program (and its steep
20     price tag) appear to be a risk-free experiment. From the perspective of Plaintiff and
21     the Classes, if the Program worked, they would reap the promised benefits. If it did
22     not work, they could get their money back and be no worse off. As a result, Plaintiff
23     and the Classes relied on Defendants’ material promises, representations, and
24     guarantees to their detriment by paying the nearly $6,000 Program tuition as well as
25     additional service and subscription fees required as part of the Program.
26     51.   Defendants monitored customer review websites and deleted or sought the
27     removal of any negative comments about the Program and stifled the concerns of
28     agents who complained about the Program by threatening legal action.

       CLASS ACTION COMPLAINT FOR DAMAGES AND RELIEF AND DEMAND FOR JURY TRIAL
                                                18
     Case 8:23-cv-00705-DOC-KES Document 1 Filed 04/24/23 Page 19 of 45 Page ID #:19



1      52.   In addition to the bait-and-switch scheme that generated nearly $6,000 per
2      victim, Defendants operate a fraudulent venture to amass recruits to sell the Program,
3      pyramid-style, creating even more opportunities for Defendants to profit from a
4      worthless product. Riehl and other sales representatives seek to convert the
5      customer-agents who complete the Program into “consultants” for the Program
6      itself—that is, to train the agent on how to sell Predictable Premium to other agents
7      so that Defendants may capture more paying customers. There are countless videos
8      on YouTube from supposed customers of the Program touting its benefits. While
9      these might appear to be satisfied customer reviews, they are actually part of the
10     Program itself, scripted and dictated by Defendants in order to leverage paying
11     customers into more paying customers.
12     53.   Despite Defendants’ efforts to conceal the truth about Predictable Premium
13     and suppress criticism from agents, at least one online forum, insurance-forums.com,
14     has a thread related to the Program and Riehl that spans back to 2016. From 2016 to
15     the present, agents have posted dozens of messages to this forum recounting stories
16     of being conned and scammed by Riehl, often through an aggressive sales and
17     marketing strategy identical to that described herein followed by across-the-board
18     denials of refund requests.
19     54.   Riehl has routinely threatened those who criticize his business or demand
20     refunds with threats of legal action. He frequently tells unsatisfied customers that his
21     “legal team” will come after them if they report the many misrepresentations in
22     DreamSource’s materials. In at least one instance, Riehl threatened to file complaints
23     with insurance companies, apparently to prevent an agent from finding work, if they
24     filed a formal complaint against him.
25

26

27

28


       CLASS ACTION COMPLAINT FOR DAMAGES AND RELIEF AND DEMAND FOR JURY TRIAL
                                                 19
     Case 8:23-cv-00705-DOC-KES Document 1 Filed 04/24/23 Page 20 of 45 Page ID #:20



1

2

3

4

5

6      55.   Plaintiff has worked as a life insurance agent for New York Life since
7      approximately 2013. In 2021, he saw online advertisements for Predictable
8      Premium, including on YouTube and Facebook, which guaranteed lead generation
9      and boasted a track record of success by agents with all the major insurance
10     companies, including New York Life. He also saw Defendants’ promise of a money-
11     back guarantee if the Program did not work. Relying on these representations,
12     Plaintiff engaged in communications with a DreamSource sales representative to
13     learn more about the program. In connection with these communications, Plaintiff
14     provided DreamSource information about his current job and employer. Plaintiff
15     specifically inquired as to whether the Program would work for New York Life
16     agents. The DreamSource representative, Mario Gamboa, who was located in
17     California, confirmed that it did. Plaintiff enrolled in the program and paid
18     approximately $5,800 to Defendants. At no time prior to this purchase was Plaintiff
19     given any detail about the Program’s specific strategies.
20     56.   After the initial lessons, Plaintiff realized that the Program’s lead-generating
21     strategies violated New York Life’s rules. In accordance with New York Life’s
22     policies, Plaintiff submitted to the New York Life compliance department the
23     language provided in the Program for use in social networking site advertisements.
24     New York Life compliance denied his request to use the language. Continuing to
25     follow the Program’s lessons, Plaintiff made videos to use in Facebook ads but,
26     again, New York Life compliance denied his request to use them.
27     57.   Plaintiff relayed these events to Defendants through various communications,
28     including directly to Alberto Riehl in a live support call. Riehl told Plaintiff that

       CLASS ACTION COMPLAINT FOR DAMAGES AND RELIEF AND DEMAND FOR JURY TRIAL
                                                20
     Case 8:23-cv-00705-DOC-KES Document 1 Filed 04/24/23 Page 21 of 45 Page ID #:21



1      getting approval from his company was not part of the Program and told Plaintiff to
2      proceed according to the Program’s instructions. Believing there was an exception
3      or work-around he was not aware of, but Defendants were, Plaintiff followed
4      Defendants’ instructions.
5      58.   Subsequently, Plaintiff reviewed the New York Life rules, which clearly
6      prohibited the strategies in the Program’s lessons. Plaintiff again contacted Riehl in
7      a live support call, explaining the conflict between the Program’s strategies and New
8      York Life’s rules and, this time, requested a refund. Riehl maintained that the
9      Program’s strategies were fully compliant but suggested that Plaintiff should hire an
10     assistant. Plaintiff again requested a refund, as hiring an assistant was not consistent
11     with the Program’s promise of automatic lead generation. At that point, Riehl muted
12     Plaintiff’s phone line for the remainder of the live support session.
13     59.   After Plaintiff’s multiple public requests for a refund, Defendants terminated
14     Plaintiff’s access to the Program’s online platform and other Program-related
15     outlets. Riehl threatened to report Plaintiff to New York Life’s compliance
16     department. Plaintiff was never issued any refund.
17     60.   In addition to the fee he paid for the Program, Plaintiff also incurred out of
18     pocket expenses in the form of additional fees paid to various online subscriptions
19     required by the Program including a DreamSource-related LinkedIn program ($99
20     per month) and other paid-for services through companies called Active Campaign
21     and Clickfunnels.
22     61.   As a proximate result of Defendants’ conduct, Plaintiff suffered injuries
23     including but not limited to out-of-pocket damages, lost time, stress, and anxiety.
24                             CLASS ACTION ALLEGATIONS
25     62.   Plaintiff brings this class action pursuant to Federal Rules of Civil Procedure
26     23(a), 23(b)(2), and 23(b)(3).
27     63.   Plaintiff brings this class action to seek relief on behalf of himself and the
28     following Refund Class:

       CLASS ACTION COMPLAINT FOR DAMAGES AND RELIEF AND DEMAND FOR JURY TRIAL
                                                 21
     Case 8:23-cv-00705-DOC-KES Document 1 Filed 04/24/23 Page 22 of 45 Page ID #:22



1               The Refund Class: All individuals who purchased the Predictable
                Premium Program at any time between April 24, 2017 to the present
2               and who made a request for a refund that was denied.
3      64.      Plaintiff also brings this action on behalf of the following New Jersey Refund
4      Subclass:
5
                The New Jersey Refund Subclass: All members of the Refund Class
6               who, at the time of their purchase, resided in New Jersey.
7      Plaintiff will amend this complaint to add other State Subclasses, if appropriate,
8      upon discovery of facts substantiating the addition of such subclasses.
9      65.      Plaintiff also brings this action on behalf of the following NYL Compliance
10     Class:
11
                The NYL Compliance Class: All individuals who purchased the
                Predictable Premium Program at any time between April 24, 2017 to
12              the present and who, at the time of their purchase, worked for New York
13              Life Insurance Company.
14
       Plaintiff will amend this complaint to add other Compliance Subclasses comprised

15     of agents of other carriers, if appropriate, upon discovery of facts substantiating the
16     addition of such subclasses.
17     66.      Plaintiff also brings this action on behalf of the following New Jersey NYL
18     Compliance Subclass:
19              The New Jersey NYL Compliance Subclass: All members of the
                NYL Compliance Class who, at the time of their purchase, resided in
20
                New Jersey.
21
                Plaintiff will amend this complaint to add other State Subclasses, if
22              appropriate, upon discovery of facts substantiating the addition of such
23              subclasses.
24
       67.      Plaintiff reserves the right to amend the above definitions of the Classes and

25
       Subclasses if discovery or further investigation demonstrate that they should be

26
       expanded or otherwise modified.

27
       68.      The members of the Classes are so numerous, counting no less than 600

28
       persons, that joinder of all members would be impracticable.


       CLASS ACTION COMPLAINT FOR DAMAGES AND RELIEF AND DEMAND FOR JURY TRIAL
                                                  22
     Case 8:23-cv-00705-DOC-KES Document 1 Filed 04/24/23 Page 23 of 45 Page ID #:23



1      69.   There are questions of law and fact common to the members of the Classes
2      and Subclasses that predominate over any questions affecting only individual
3      members, including:
4            a. Whether Defendants’ statements and representations regarding the
5               Predictable Premium Program (including its money-back guarantee and
6               compatibility and compliance with New York Life’s rules) were false and
7               misleading;
8            b. Whether Defendants concealed material information regarding the
9               Predictable Premium Program;
10           c. Whether Defendants knew the falsity of the misrepresentations at the time
11              they were made;
12           d. Whether Defendants’ misrepresentations were material to the Classes and
13              Subclasses in considering the Predictable Premium Program;
14           e. Whether Defendants’ intended to induce members of the Classes and
15              Subclasses to rely on their misrepresentations regarding the Predictable
16              Premium Program;
17           f. Whether Defendants negligently misrepresented the Predictable Premium
18              Program to Plaintiff and members of the Classes and Subclasses;
19           g. Whether Defendants’ misrepresentations played a substantial and material
20              part in influencing the course of action of members of the Classes and
21              Subclasses to pay for the Predictable Premium Program;
22           h. Whether Defendants’ misrepresentations caused damages to members of
23              the Classes and Subclasses;
24           i. The nature and quantity of damages suffered by members of the Classes
25              and Subclasses;
26           j. Whether Defendants were unjustly enriched by their conduct;
27           k. Whether Defendants’ conduct constituted unfair competition under
28              California law;

       CLASS ACTION COMPLAINT FOR DAMAGES AND RELIEF AND DEMAND FOR JURY TRIAL
                                               23
     Case 8:23-cv-00705-DOC-KES Document 1 Filed 04/24/23 Page 24 of 45 Page ID #:24



1             l. Whether Defendants’ conduct constituted false advertising under
2                California law;
3             m. Whether Defendants’ conduct constituted deceptive trade practices under
4                Nevada law; and
5             n. Whether Defendants’ conduct violated New Jersey’s Consumer Fraud Act.
6      70.    Plaintiff’s claims are typical of the claims of the Classes and Subclasses.
7      Plaintiff has no interests antagonistic to those of the Classes and Subclasses and is
8      not subject to any unique defenses.
9      71.    Plaintiff will fairly and adequately protect the interests of the Classes and
10     Subclasses and has retained attorneys experienced in class action and complex
11     litigation.
12     72.    A class action is superior to all other available methods for the fair and
13     efficient adjudication of this controversy for, inter alia, the following reasons:
14            a. It is economically impractical for members of the Classes and Subclasses
15               to prosecute individual actions;
16            b. The Classes and Subclasses are readily ascertainable and definable;
17            c. Prosecution as a class action will eliminate the possibility of repetitious
18               litigation; and
19            d. A class action will enable claims to be handled in an orderly and
20               expeditious manner, will save time and expense, and will ensure
21               uniformity of decisions.
22     73.    Adequate notice of this action may be made by mail or email using the
23     information in Defendants’ books and records.
24     74.    Plaintiff does not anticipate any difficulty in the management of this litigation.
25

26

27

28


       CLASS ACTION COMPLAINT FOR DAMAGES AND RELIEF AND DEMAND FOR JURY TRIAL
                                                  24
     Case 8:23-cv-00705-DOC-KES Document 1 Filed 04/24/23 Page 25 of 45 Page ID #:25



1                                    CAUSES OF ACTION
2                                     First Cause of Action
3                                             Fraud
4                  [On behalf of Refund Class and NYL Compliance Class]
5      75.   Plaintiff realleges and incorporates the above allegations by reference as if set
6      forth fully herein.
7      76.   Plaintiff brings this cause of action on behalf of himself, the Refund Class,
8      and the NYL Compliance Class.
9      77.   Defendants engaged in intentional misrepresentations. Defendants made
10     numerous material misrepresentations to Plaintiff and the Classes about the
11     Predictable Premium Program.
12     78.   With respect to the Refund Class: Defendants represented to Plaintiff and
13     the Refund Class that the Predictable Premium Program was backed by a 100 percent
14     money-back guarantee. This statement was false. Defendants omitted any mention
15     that Defendants had a policy to uniformly reject all refund requests. Defendants also
16     omitted that they would prohibit customers from accessing the Program completely
17     if they pursued their request for a refund. In doing so, Defendants misrepresented
18     material facts regarding the Program’s nature, purpose, value, and risk. Plaintiff and
19     the Refund Class relied on these misrepresentations to their detriment. The purported
20     risk-free nature of the Program was a material aspect to Plaintiffs and the Refund
21     Class. Had they known there was no guaranteed right to recover their money if the
22     Program turned out to be ineffective, they would not have purchased it.
23     79.   With respect to the NYL Compliance Class: Defendants represented
24     Plaintiff and the NYL Compliance Class that the Predictable Premium Program was
25     guaranteed to generate automated leads for agents of all life insurance companies,
26     that the Program was compatible with all large institutional carriers including New
27     York Life, and that the Program complied with all major life insurance carrier’s
28     marketing rules, including New York Life’s. These were representations of fact and

       CLASS ACTION COMPLAINT FOR DAMAGES AND RELIEF AND DEMAND FOR JURY TRIAL
                                                 25
     Case 8:23-cv-00705-DOC-KES Document 1 Filed 04/24/23 Page 26 of 45 Page ID #:26



1      were uniformly and objectively false. Defendants omitted any mention that the
2      Predictable Premium Program was, in fact, not compliant with NYL’s rules and that
3      adhering to the Program could result in disciplinary action by NYL for violating its
4      rules. In doing so, Defendants misrepresented material facts regarding the Program’s
5      nature, purpose, value, and risk. These omissions rendered Defendants’ affirmative
6      representations deceptive and likely to mislead. These facts were known or
7      accessible only to Defendants, who knew they were not known to or reasonably
8      discoverable by Plaintiff and the Class. Prior to purchasing the Program, Plaintiff
9      and the Class had no knowledge of the details of the Program and what would be
10     required by the various steps. As such, they had no way of determining whether it
11     complied with NYL’s rules. Defendants were in sole possession of this information.
12     80.   Defendants knew these representations were false when they made them or
13     knew they did not have sufficient information to make the representations. With
14     respect to Defendants’ representations as to the Program’s compatibility with NYL’s
15     rules, Defendants knew, based on prior experience in the insurance industry and
16     based on complaints directed to them made by prior customers, that the Program did
17     not and could not comply with NYL’s rules.
18     81.   Defendants intended to induce Plaintiff and members of the Classes to rely on
19     the information and act on it accordingly by purchasing the Program in order to
20     generate revenue for Defendants. Unaware of the falsity of the representations,
21     Plaintiff and members of the Classes relied on these misrepresentations by
22     purchasing the Program for approximately $6,000.
23     82.   By making the above-described false representations regarding the Program’s
24     guaranteed results, money back guarantee, and compatibility with NYL and other
25     major carriers, Defendants made false promises to Plaintiff and the Classes as to
26     material facts regarding the Program’s nature, purpose, value, and risk. Defendants
27     promised a 100 percent money back guarantee that they knew they would not
28     provide based on their own policy of denying customer refunds. Defendants

       CLASS ACTION COMPLAINT FOR DAMAGES AND RELIEF AND DEMAND FOR JURY TRIAL
                                                26
     Case 8:23-cv-00705-DOC-KES Document 1 Filed 04/24/23 Page 27 of 45 Page ID #:27



1      promised the Program was compatible with NYL rules but knew this promise was
2      false based on their own prior experience working in the insurance industry and
3      based on prior complaints from other customers who informed them of the
4      Program’s incompatibility with NYL and other major carriers’ advertising policies.
5      Defendants knew these promises would be material to potential customers and made
6      them with the intent of inducing Plaintiff and members of the Classes to rely on them
7      and purchase the Program. Plaintiff and members of the Classes were unaware of
8      Defendants’ intention not to perform the promises. Plaintiff and members of the
9      Class acted in reliance on the promises by purchasing the Program for approximately
10     $6,000.
11     83.   By making the above-described false representations, Defendants also
12     concealed and failed to disclose information that they had a duty to disclose.
13     Defendants were under a duty to disclose all material information that would be
14     necessary to Plaintiffs to understand the nature the Program, including Defendants’
15     policy against refunding money to dissatisfied customers and the Program’s
16     incompatibility with NYL policies. Defendants concealed or failed to disclose these
17     material facts—namely that they would not honor the 100 percent money-back
18     guarantee and that the Program violated NYL’s rules. Defendants had a special
19     relationship with Plaintiff and members of the Classes based on the fact Plaintiff and
20     members of the Classes put their confidence in Defendants because of their position,
21     experience or knowledge, and Defendants were aware Plaintiffs and members of the
22     Classes were giving that confidence. Because of the special relationship, Defendants
23     were under a duty to disclose these facts to Plaintiff and members of the Classes
24     because they knew that, by concealing them, Plaintiffs and the Classes would be
25     defrauded. Defendants intended to induce Plaintiff and members of the Classes to
26     act in a manner different than they would have had they known the truth. Plaintiff
27     and members of the Class were unaware that Defendants would not honor the
28


       CLASS ACTION COMPLAINT FOR DAMAGES AND RELIEF AND DEMAND FOR JURY TRIAL
                                                 27
     Case 8:23-cv-00705-DOC-KES Document 1 Filed 04/24/23 Page 28 of 45 Page ID #:28



1      money-back guarantee or that the Program violated NYL’s rules and would not have
2      acted as they did if they had known those facts.
3      84.   Plaintiff and members of the Classes reasonably and justifiably relied on
4      Defendants’ false representations, false promises, concealments, and omissions
5      described above. The representations false promises, concealments, and omissions
6      played a substantial and material part in influencing the course of action of Plaintiff
7      and members of the Classes took in purchasing the Predictable Premium Program.
8      85.   As a direct and proximate cause of Defendants’ fraudulent misrepresentations,
9      false promises, concealments, and omissions, Plaintiff and members of the Classes
10     were damaged in an amount to be proven at trial.
11                                   Second Cause of Action
12                                Negligent Misrepresentation
13                 [On behalf of Refund Class and NYL Compliance Class]
14     86.   Plaintiff realleges and incorporates the above allegations by reference as if set
15     forth fully herein.
16     87.   Plaintiff brings this cause of action on behalf of himself, the Refund Class,
17     and the NYL Compliance Class.
18     88.   With respect to the Refund Class: Defendants represented to Plaintiff and
19     the Refund Class that the Predictable Premium Program was backed by a 100 percent
20     money-back guarantee. This statement was false. Defendants omitted any mention
21     that refund requests would uniformly be rejected at Defendants’ discretion.
22     Defendants also omitted that they would prohibit customers from accessing the
23     Program completely if they pursued their request for a refund. In doing so,
24     Defendants misrepresented material facts regarding the Program’s nature, purpose,
25     value, and risk. Plaintiff and the Refund Class relied on these misrepresentations to
26     their detriment. The purported risk-free nature of the Program was a material aspect
27     to Plaintiffs and the Refund Class. Had they known there was no guaranteed right to
28


       CLASS ACTION COMPLAINT FOR DAMAGES AND RELIEF AND DEMAND FOR JURY TRIAL
                                                 28
     Case 8:23-cv-00705-DOC-KES Document 1 Filed 04/24/23 Page 29 of 45 Page ID #:29



1      recover their money if the Program turned out to be ineffective, they would not have
2      purchased it.
3      89.   With respect to the NYL Compliance Class: Defendants misrepresented
4      Plaintiff and the NYL Compliance Class that the Predictable Premium Program was
5      guaranteed to generate automated leads for agents of all life insurance companies,
6      that the Program was compatible with all large institutional carriers including New
7      York Life, and that the Program complied with all major life insurance carrier’s
8      marketing rules, including New York Life’s. These were representations of fact and
9      were uniformly and objectively false. Defendants omitted any mention that the
10     Predictable Premium Program was, in fact, not compliant with NYL’s rules and that
11     adhering to the Program could result in disciplinary action by NYL for violating its
12     rules. In doing so, Defendants misrepresented material facts regarding the Program’s
13     nature, purpose, value, and risk. These omissions rendered Defendants’ affirmative
14     representations deceptive and likely to mislead. These facts were known or
15     accessible only to Defendants, who knew they were not known to or reasonably
16     discoverable by Plaintiff and the Class. Prior to purchasing the Program, Plaintiff
17     and the Class had no knowledge of the details of the Program and what would be
18     required by the various steps. As such, they had no way of knowing whether it
19     complied with NYL’s rules. Defendants were in sole possession of this information.
20     90.   Defendants had no reasonable grounds for believing the misleading
21     statements described above were true at the time they were made. Defendants failed
22     to conduct reasonable and diligent investigation of the representations they made to
23     Plaintiff and the Classes to ensure those statements were true. Defendants’ policy
24     against refunding customer funds was known to Defendants as it was their own
25     policy. Many of NYL’s rules were publicly available and could be viewed online
26     and could be confirmed by consulting with NYL compliance personnel. Defendants,
27     in the exercise of reasonable care, should have known that their statements and
28     omissions were misleading, including because Defendants knew or should have

       CLASS ACTION COMPLAINT FOR DAMAGES AND RELIEF AND DEMAND FOR JURY TRIAL
                                                29
     Case 8:23-cv-00705-DOC-KES Document 1 Filed 04/24/23 Page 30 of 45 Page ID #:30



1      known that (1) they would not issue refunds as promised; and (2) because
2      Defendants knew or should have known that the Program did not comply with
3      NYL’s rules.
4      91.   Defendants each owed a duty to Plaintiff and members of the Classes to speak
5      with care and explain fully and truthfully all material facts regarding the Program.
6      This duty arose from several bases. Defendants’ duty arose under the UCL, FAL,
7      Nevada’s Deceptive Trade Practices Act, and New Jersey’s Consumer Fraud Act,
8      which prohibit deceptive acts or practices affecting consumer commerce. This
9      includes material representations, omissions, or practices that are likely to mislead a
10     reasonable consumer. Additionally, DreamSource’s duty to disclose arose from its
11     privity relationship with Plaintiff and the Classes.
12     92.   The above-described relationship between Defendants and Plaintiff was such
13     that, in morals and good conscience, Plaintiff and the Classes had the right to rely
14     upon Defendants for information. Defendants were in a special position of
15     confidence and trust with Plaintiff and the Class such that their reliance on
16     Defendants’ negligent misrepresentations was justified.
17     93.   Defendants knew, or reasonably should have known, that Plaintiff and the
18     Classes would rely on their misrepresentations and omissions in purchasing the
19     Predictable Premium Program. Defendants knew that it was the sole source of
20     information about the Program and knew that Plaintiff and the Classes would
21     therefore rely on its representations.
22     94.   The negligent misrepresentations and omissions made by Defendants, upon
23     which Plaintiff and members of the Classes reasonably and justifiably relied, were
24     intended to induce, and actually induced, Plaintiff and members of the Classes
25     members to purchase the Predictable Premium Program.
26     95.   As a direct and proximate cause of their reliance on Defendants’
27     representations, Plaintiff and the members of the Classes have been injured as
28     described herein and are entitled to damages in an amount to be proven at trial.

       CLASS ACTION COMPLAINT FOR DAMAGES AND RELIEF AND DEMAND FOR JURY TRIAL
                                                 30
     Case 8:23-cv-00705-DOC-KES Document 1 Filed 04/24/23 Page 31 of 45 Page ID #:31



1                                    Third Cause of Action
2                                      Unjust Enrichment
3                  [On behalf of Refund Class and NYL Compliance Class]
4      96.   Plaintiff realleges and incorporates the above allegations by reference as if set
5      forth fully herein.
6      97.   Plaintiff brings this cause of action on behalf of himself, the Refund Class,
7      and the NYL Compliance Class.
8      98.   Plaintiff and members of the Classes conferred a monetary benefit on
9      Defendants by each paying Defendants approximately $6,000 on the promise that
10     Defendants would provide, in exchange, a lead generation program guaranteed to
11     deliver automated leads, backed by a 100 percent money-back guarantee, and
12     compliant with all major insurance carriers’ marketing rules, including NYL’s rules.
13     99.   Defendants enriched themselves by receiving, retaining, and appropriating
14     Plaintiff and the Classes’ money but failing to deliver the Program as advertised.
15     With respect to the Refund Class, Defendants provided a Program that did not
16     generate automated leads and was not backed by a 100 percent money-back
17     guarantee. Relying on the purported money-back guarantee, Plaintiff and the Refund
18     Class requested refunds of their tuition payments. However, rather than refunding
19     Plaintiff and the Class, Defendants refused to honor the money-back guarantee.
20     Plaintiff and the Class, therefore, did not receive the benefit of the bargain and
21     Defendants unjustly retained Plaintiff and the Class’s funds. With respect to the
22     NYL Compliance Class, Defendants provided a Program that was not compliant
23     with NYL’s rules. Plaintiff and the Class were unable to use the Program without
24     running afoul of NYL’s rules. It was, therefore, valueless to them, however,
25     Defendants unjustly retained Plaintiff and the Class’s funds.
26     100. Under the principles of equity and good conscience, Defendants should not be
27     permitted to retain Plaintiff’s and the Classes’ money, because Defendants have not
28     provided the promised program in exchange.

       CLASS ACTION COMPLAINT FOR DAMAGES AND RELIEF AND DEMAND FOR JURY TRIAL
                                                 31
     Case 8:23-cv-00705-DOC-KES Document 1 Filed 04/24/23 Page 32 of 45 Page ID #:32



1      101. Defendants acquired the monetary benefit through inequitable means, in that
2      they used deceptive, fraudulent, and misleading conduct to induce Plaintiff and
3      members of the Classes to pay them for the Program. Defendants are, therefore,
4      conscious wrongdoers.
5      102. If Plaintiff and members of the Classes knew that Defendants would not
6      provide the Program as promised, they would not have agreed to remit their tuition
7      payments of approximately $6,000.
8      103. Defendants accepted and retained the monetary benefits conferred upon them
9      by Plaintiff and members of the Classes under circumstances indicating Defendants
10     would provide a valuable and risk-free lead-generation program guaranteed to
11     deliver results, backed by a 100 percent money-back guarantee, and compliant with
12     all major insurance carriers’ marketing rules, including NYL’s rules. Defendants
13     have not provided the promised program. It would, therefore, be inequitable and
14     unjust for Defendants to retain such benefit without repayment of the value thereof.
15     104. As a direct and proximate result of Defendants’ conduct, Plaintiff and
16     members of the Classes have suffered and will suffer injury, including but not
17     limited to the loss of their purchase payments of approximately $6,000 and other
18     monies spent in conjunction with implementing the Program’s strategies.
19     105. Defendants should be compelled to disgorge all proceeds that they unjustly
20     received from Plaintiff and members of the Classes.
21                                   Fourth Cause of Action
22                           Violation of the Unfair Competition Law
23                               Cal. Bus. & Prof. Code § 17200
24                 [On behalf of Refund Class and NYL Compliance Class]
25     106. Plaintiff realleges and incorporates the above allegations by reference as if set
26     forth fully herein.
27     107. Plaintiff brings this cause of action on behalf of himself, the Refund Class,
28     and the NYL Compliance Class.

       CLASS ACTION COMPLAINT FOR DAMAGES AND RELIEF AND DEMAND FOR JURY TRIAL
                                                32
     Case 8:23-cv-00705-DOC-KES Document 1 Filed 04/24/23 Page 33 of 45 Page ID #:33



1      108. The UCL prohibits any “unlawful, unfair or fraudulent business act or
2      practice.” Cal. Bus. & Prof. Code § 17200, et seq.
3      109. The acts, omissions, misrepresentations, practices, and non-disclosures of
4      Defendants as alleged herein constitute business acts and practices.
5      110. With respect to the Refund Class: Defendants represented to Plaintiff and
6      the Refund Class that the Predictable Premium Program was backed by a 100 percent
7      money-back guarantee. This statement was false. Defendants omitted any mention
8      that refund requests would uniformly be rejected at Defendants’ discretion.
9      Defendants also omitted that they would prohibit customers from accessing the
10     Program completely if they pursued their request for a refund. In doing so,
11     Defendants misrepresented material facts regarding the Program’s nature, purpose,
12     value, and risk. Plaintiff and the Refund Class relied on these misrepresentations to
13     their detriment. The purported risk-free nature of the Program was a material aspect
14     to Plaintiffs and the Refund Class. Had they known there was no guaranteed right to
15     recover their money if the Program turned out to be ineffective, they would not have
16     purchased it.
17     111. With respect to the NYL Compliance Class: Defendants misrepresented
18     Plaintiff and the NYL Compliance Class that the Predictable Premium Program was
19     guaranteed to generate automated leads for agents of all life insurance companies,
20     that the Program was compatible with all large institutional carriers including New
21     York Life, and that the Program complied with all major life insurance carrier’s
22     marketing rules, including New York Life’s. These were representations of fact and
23     were uniformly and objectively false. Defendants omitted any mention that the
24     Predictable Premium Program was, in fact, not compliant with NYL’s rules and that
25     adhering to the Program could result in disciplinary action by NYL for violating its
26     rules. In doing so, Defendants misrepresented material facts regarding the Program’s
27     nature, purpose, value, and risk. These omissions rendered Defendants’ affirmative
28     representations deceptive and likely to mislead. These facts were known or

       CLASS ACTION COMPLAINT FOR DAMAGES AND RELIEF AND DEMAND FOR JURY TRIAL
                                                33
     Case 8:23-cv-00705-DOC-KES Document 1 Filed 04/24/23 Page 34 of 45 Page ID #:34



1      accessible only to Defendants, who knew they were not known to or reasonably
2      discoverable by Plaintiff and the Class. Prior to purchasing the Program, Plaintiff
3      and the Class had no knowledge of the details of the Program and what would be
4      required by the various steps. As such, they had no way of knowing whether it
5      complied with NYL’s rules. Defendants were in sole possession of this information.
6      112. Unlawful: The acts alleged herein are “unlawful” under the UCL in that they
7      violate at least the following laws:
8         • California’s False Advertising Law, Cal. Bus. & Prof. Code §§ 17500,
9           et seq. (as alleged below)
10        • Nevada’s Deceptive Trade Practices Act, Nev. Rev. St. §§ 598.0901, et
            seq. (“NDTPA”) (as alleged below)
11

12
          • New Jersey’s Consumer Fraud Act, N.J. Stat. Ann. §§ 56:8-1, et seq.
            (“NJCFA”) (as alleged below)
13
          • California, Nevada, and New Jersey common law for fraud, negligent
14
            misrepresentation, and unjust enrichment (as alleged above)
15     113. Unfair: Defendants’ conduct with respect to the labeling, advertising, and sale
16     of the Predictable Premium Program and their denial of refund requests was “unfair”
17     because Defendants’ deceptive and dishonest conduct in the marketplace was
18     immoral, unethical, unscrupulous, or substantially injurious to Plaintiff and
19     members of the Classes and the utility of Defendants’ conduct, if any, does not
20     outweigh the gravity of the harm to their victims.
21     114. Defendants’ conduct with respect to the labeling, advertising, and sale of the
22     Predictable Premium Program and their denial of refund requests was and is also
23     unfair because it violates public policy as declared by specific statutory provisions
24     including but not limited to the above cited statutes.
25     115. Defendants’ conduct with respect to the labeling, advertising, and sale of the
26     Predictable Premium Program and their denial of refund requests was and is unfair
27     because the injury was substantial, not outweighed by benefits to competition, and
28     not one that Plaintiff or members of the Classes could reasonably have avoided.

       CLASS ACTION COMPLAINT FOR DAMAGES AND RELIEF AND DEMAND FOR JURY TRIAL
                                                 34
     Case 8:23-cv-00705-DOC-KES Document 1 Filed 04/24/23 Page 35 of 45 Page ID #:35



1      116. Fraudulent: A statement or practice is “fraudulent” under the UCL if it is
2      likely to mislead or deceive the public, applying an objective reasonable consumer
3      test.
4      117. As set forth herein, Defendants’ representations regarding the Predictable
5      Premium Program are likely to mislead reasonable consumers to believe
6      Defendants’ claims and promises relating to the Predictable Premium Program are
7      true.
8      118. Defendants profited from the sale of the falsely, deceptively, and unlawfully
9      advertised Predictable Premium Program.
10     119. Defendants’ conduct caused and continues to cause substantial injury to
11     Plaintiff and the members of the Classes. Defendants continue to publish misleading
12     claims about the Predictable Premium Program and continue to deny refund
13     requests. Plaintiff has suffered injury in fact as a result of Defendants’ unlawful,
14     unfair, and fraudulent conduct.
15     120. In accordance with Bus. & Prof. Code § 17203, Plaintiff seeks an order
16     enjoining Defendants from continuing to conduct business through unlawful, unfair,
17     and fraudulent acts and practices.
18     121. Plaintiff and the Classes also seek an order for and restitution of all monies
19     from the sale of the Predictable Premium Program, which were unjustly acquired
20     through acts of unlawful competition, and any other relief allowed under the UCL,
21     including interest and attorneys’ fees pursuant to, inter alia, Code of Civil Procedure
22     § 1021.5, and to such other and further relief as this Court may deem just and proper.
23                                    Fifth Cause of Action
24                           Violation of the False Advertising Law
25                               Cal. Bus. & Prof. Code § 17500
26                 [On behalf of Refund Class and NYL Compliance Class]
27     122. Plaintiff realleges and incorporates the above allegations by reference as if set
28     forth fully herein.

       CLASS ACTION COMPLAINT FOR DAMAGES AND RELIEF AND DEMAND FOR JURY TRIAL
                                                 35
     Case 8:23-cv-00705-DOC-KES Document 1 Filed 04/24/23 Page 36 of 45 Page ID #:36



1      123. Plaintiff brings this cause of action on behalf of himself, the Refund Class,
2      and the NYL Compliance Class.
3      124. A substantial amount of the conduct described herein took place within the
4      state of California and constitutes deceptive or false advertising in violation of
5      California Business and Professions Code §§ 17500, et seq.
6      125. California Business and Professions Code §§ 17500, et seq. prohibits
7      deceptive or misleading practices in connection with advertising or representations
8      made for the purpose of inducing, or which are likely to induce, consumers to
9      purchase products.
10     126. It is also unlawful under the FAL to disseminate statements concerning
11     property or services that are “untrue or misleading, and which is known, or which
12     by the exercise of reasonable care should be known, to be untrue or misleading.” Id.
13     127. Defendants violated the FAL when they marketed, advertised, and promoted
14     the Predictable Premium Program by: (1) misleading Plaintiffs and Class members
15     about the benefits of the Program, (2) omitting material facts about the compatibility
16     of the Program with NYL’s rules, and (3) omitting material facts about the
17     Program’s purported money-back guarantee.
18     128. Defendants knew these representations were false when they made them or
19     knew they did not have sufficient information to make the representations. With
20     respect to Defendants’ representations as to the Program’s compatibility with NYL’s
21     rules, Defendants either (1) knew what NYL’s rules were, in which case they knew
22     the Program did not and could not comply, or (2) they did not know the specifics of
23     NYL’s rules, in which case Defendants were reckless in representing the Program
24     complied with them in the absence of such information. With respect to Defendants’
25     misrepresentations and omissions regarding the Program’s guaranteed results and
26     money-back guarantee, Defendants were either aware that the Program did not have
27     such benefits, or they were aware that they lacked the information and knowledge
28     required to truthfully make these representations.

       CLASS ACTION COMPLAINT FOR DAMAGES AND RELIEF AND DEMAND FOR JURY TRIAL
                                                36
     Case 8:23-cv-00705-DOC-KES Document 1 Filed 04/24/23 Page 37 of 45 Page ID #:37



1      129. Plaintiff has standing to pursue claims under the FAL because he reasonably
2      reviewed and relied on Defendants’ statements when purchasing the Predictable
3      Premium Program.
4      130. In reliance on the statements made in Defendants’ advertising and marketing
5      materials and Defendants’ omissions and concealment of material facts regarding
6      the quality and characteristics of the Program, Plaintiff and members of the Classes
7      purchased the Program.
8      131. Had Defendants disclosed the true nature and characteristics of the Program,
9      Plaintiff and members of the Classes would not have purchased the Program.
10     132. As a direct and proximate result of Defendants’ actions, as set forth herein,
11     Plaintiff suffered injury in fact, and lost money or property including but not limited
12     to economic loss and lost time dedicated to the investigation of and attempt to obtain
13     a refund.
14     133. Pursuant to Cal. Bus. & Prof. Code § 17535, Plaintiff, on behalf of himself,
15     the Refund Class, and the NYL Compliance Class, seeks an order enjoining
16     Defendants from continuing to engage in deceptive business practices, false
17     advertising, and any other act prohibited by law, including those set forth in this
18     Complaint.
19     134. Plaintiffs seek an order of this Court awarding restitution and injunctive relief
20     and all other relief allowed under the FAL, including interest and attorneys’ fees
21     pursuant to, inter alia, California Code of Civil Procedure section 1021.5, and to
22     such other and further relief as this Court may deem just and proper.
23                                    Sixth Cause of Action
24                   Violation of Nevada’s Deceptive Trade Practices Act
25                              NRS 41.600 & NRS Chapter 598
26                  [On behalf of Refund Class and NYL Compliance Class]
27     135. Plaintiff incorporates the above allegations by reference as if set forth fully
28     herein.

       CLASS ACTION COMPLAINT FOR DAMAGES AND RELIEF AND DEMAND FOR JURY TRIAL
                                                 37
     Case 8:23-cv-00705-DOC-KES Document 1 Filed 04/24/23 Page 38 of 45 Page ID #:38



1      136. Plaintiff brings this cause of action on behalf of himself, the Refund Class,
2      and the NYL Compliance Class.
3      137. Pursuant to Nev. Rev. Stat. § 41.600(2)(e), “[a]n action may be brought by
4      any person who is a victim of consumer fraud. As used in this section, ‘consumer
5      fraud’ means … [a] deceptive trade practice as defined by NRS 598.0915 to
6      598.00925, inclusive,” also known as Nevada’s Deceptive Trade Practices Act
7      (“NDTPA”).
8      138. Defendants engaged in deceptive trade practices under the NDTPA based on
9      the conduct described herein, and specifically in the following ways:
10           a. Under    NRS     598.0915(2),     Defendants     knowingly     made     false
11              representations as to the source, sponsorship, approval or certification of a
12              good or service by representing that the Program and its strategies were
13              approved (or sure to be approved) by NYL and compliant with NYL’s
14              internal rules when in fact the Program and its strategies were not approved
15              by NYL nor compliant with its rules;
16           b. Under    NRS     598.0915(5),     Defendants     knowingly     made     false
17              representations as to the characteristics, uses, benefits, and qualities of a
18              good or service by (1) representing that the Program and its strategies were
19              approved (or sure to be approved) by NYL and compliant with NYL’s
20              internal rules when in fact the Program and its strategies were not approved
21              by NYL nor compliant with its rules; and (2) by advertising, but not
22              honoring, a 100 percent money back guarantee for the Program;
23           c. Under NRS 598.0915(7), Defendants knowingly misrepresented the
24              standard and quality of a good or service by representing that the Program
25              and its strategies were approved (or sure to be approved) by NYL and
26              compliant with NYL’s internal rules when in fact the Program and its
27              strategies were not approved by NYL nor compliant with its rules;
28


       CLASS ACTION COMPLAINT FOR DAMAGES AND RELIEF AND DEMAND FOR JURY TRIAL
                                                38
     Case 8:23-cv-00705-DOC-KES Document 1 Filed 04/24/23 Page 39 of 45 Page ID #:39



1            d. Under NRS 598.0915(8), Defendants knowingly disparaged the services
2               and business of Plaintiff and members of the NYL Compliance Class
3               through false or misleading representations of fact because, when the
4               Program proved useless for those individuals, Defendants blamed them for
5               a personal failure to implement the Program and its strategies when, in
6               reality, the Program did not work because it was not sanctioned by NYL
7               and therefore it lacked any possibility of efficacy whatsoever;
8            e. Under NRS 598.0915(9), Defendants knowingly advertised goods or
9               services with intent not to sell them as advertised by (1) purposefully
10              misrepresenting that the Program and its strategies were approved (or sure
11              to be approved) by NYL and compliant with NYL’s internal rules when in
12              fact the Program and its strategies were not approved by NYL nor
13              compliant with its rules; and (2) by advertising, but not honoring, a 100
14              percent money back guarantee for the Program;
15           f. Under    NRS    598.0915(15),        Defendants   knowingly   made    false
16              representations in the transactions involving the Program, including by
17              accepting payment for the Program after having misrepresented the
18              Program as compliant with the internal rules used by any insurance
19              company, including NYL, and by advertising, but not honoring, the
20              Program’s advertised 100 percent money back guarantee;
21           g. Under NRS 598.092(8), Defendants knowingly misrepresented the legal
22              rights, obligations or remedies of a party to a transaction, including by
23              advertising, but not honoring, a 100 percent money back guarantee for the
24              Program; and
25           h. Under NRS 598.0923(1)(b), Defendants failed to disclose a material fact
26              in connection with the sale of goods or services by concealing (1) that the
27              Program and its strategies were not sanctioned by any life insurance
28


       CLASS ACTION COMPLAINT FOR DAMAGES AND RELIEF AND DEMAND FOR JURY TRIAL
                                                39
     Case 8:23-cv-00705-DOC-KES Document 1 Filed 04/24/23 Page 40 of 45 Page ID #:40



1                company including NYL; and (2) Defendants would rarely, if ever, honor
2                the advertised 100 percent money back guarantee.
3      139. Plaintiff and the Classes have suffered injuries, including lost time and money,
4      as a direct and proximate cause of Defendants’ deceptive trade practices. Absent
5      Defendants’ deceptive trade practices, Plaintiff and the Classes would not have
6      purchased the Program or would have paid substantially less for it. The harm to
7      Plaintiff and the Class members outweighs any legitimate justifications or motives
8      for engaging in such conduct.
9      140. The statements and representations made by Defendants were made for the
10     benefit of the reputation and revenue of Defendants and to induce, directly or
11     indirectly, others to purchase the services of and enter into a business relationship
12     with Defendants.
13     141. Defendants’ conduct was a cause and a substantial factor in bringing about
14     Plaintiff’s harm and Plaintiff seeks damages in law for the harm caused, including
15     Plaintiff’s litigation costs and reasonable attorneys’ fees as allowed under NRS
16     41.600(3), which exceed $15,000.
17     142. Plaintiff and the Classes seek an order enjoining Defendants from continuing
18     their deceptive practices. Plaintiff and the Classes further seek a refund of all monies
19     paid to Defendants for the Predictable Premium Program, as well as all damages,
20     interest, attorneys’ fees, and fees and costs allowable under Nevada law and the
21     NDTPA.
22                                   Seventh Cause of Action
23                      Violation of New Jersey’s Consumer Fraud Act
24                              (N.J. Stat. Ann. §§ 56:8-1 et seq.)
25          [On behalf of the New Jersey Refund Subclass and New Jersey NYL
26                                     Compliance Subclass]
27     143. Plaintiff realleges and incorporates the above allegations by reference as if set
28     forth fully herein.

       CLASS ACTION COMPLAINT FOR DAMAGES AND RELIEF AND DEMAND FOR JURY TRIAL
                                                 40
     Case 8:23-cv-00705-DOC-KES Document 1 Filed 04/24/23 Page 41 of 45 Page ID #:41



1      144. Plaintiff brings this cause of action on behalf of himself, the New Jersey
2      Refund Subclass, and the New Jersey NYL Compliance Subclass.
3      145. By engaging in the conduct described above with Plaintiff within the state of
4      New Jersey, Defendants committed consumer fraud and violated New Jersey’s
5      Consumer Fraud Act (the “NJCFA”).
6      146. By engaging in the conduct described above, Defendants used, by means of
7      affirmative acts, unconscionable commercial practices, deception, fraud, false
8      pretenses, false promises, and misrepresentations in connection with the sale and
9      advertisement of the Predictable Premium Program.
10     147. Specifically, Defendants advertised and marketed the Program and its
11     strategies on the promise that they were approved (or sure to be approved) by NYL
12     and compliant with NYL’s internal rules when in fact the Program and its strategies
13     were not approved by NYL nor compliant with its rules. This is a material fact since
14     if they knew the Program did not comply with NYL’s rules, Plaintiff and members
15     of the New Jersey NYL Compliance Subclass never have purchased it. Defendant
16     also advertised and marketed the Program and its strategies on the promise that it
17     was backed by a 100 percent money back guarantee when in fact Defendants refused
18     to honor refund requests at their discretion. This is also a material fact as Plaintiff
19     and members of the New Jersey Refund Subclass would not have purchased the
20     Program had they known that refund requests would not be honored.
21     148. With respect to the New Jersey Refund Subclass: Defendants advertised
22     and marketed the Predictable Premium Program as backed by a 100 percent money-
23     back guarantee. This statement was false. Defendants omitted any mention that
24     refund requests would uniformly be rejected at Defendants’ discretion. Defendants
25     also omitted that they would prohibit customers from accessing the Program
26     completely if they pursued their request for a refund. In doing so, Defendants
27     misrepresented material facts regarding the Program’s nature, purpose, value, and
28     risk. Plaintiff and the New Jersey Refund Subclass relied on these misrepresentations

       CLASS ACTION COMPLAINT FOR DAMAGES AND RELIEF AND DEMAND FOR JURY TRIAL
                                                 41
     Case 8:23-cv-00705-DOC-KES Document 1 Filed 04/24/23 Page 42 of 45 Page ID #:42



1      to their detriment. The purported risk-free nature of the Program was a material
2      aspect to Plaintiffs and the New Jersey Refund Subclass. Had they known there was
3      no guaranteed right to recover their money if the Program turned out to be
4      ineffective, they would not have purchased it.
5      149. With respect to the New Jersey NYL Compliance Subclass: Defendants
6      advertised and marketed the Predictable Premium Program as being guaranteed to
7      generate automated leads for agents of all life insurance companies, that the Program
8      was compatible with all large institutional carriers including NYL, and that the
9      Program complied with all major life insurance carrier’s marketing rules, including
10     NYL’s. These were representations of fact and were uniformly and objectively false.
11     Defendants omitted any mention that the Predictable Premium Program was, in fact,
12     not compliant with NYL’s rules and that adhering to the Program could result in
13     disciplinary action by NYL for violating its rules. In doing so, Defendants
14     misrepresented material facts regarding the Program’s nature, purpose, value, and
15     risk. These omissions rendered Defendants’ affirmative representations deceptive
16     and likely to mislead. These facts were known or accessible only to Defendants, who
17     knew they were not known to or reasonably discoverable by Plaintiff and the New
18     Jersey NYL Compliance Subclass. Prior to purchasing the Program, Plaintiff and the
19     New Jersey NYL Compliance Subclass had no knowledge of the details of the
20     Program and what would be required by the various steps. As such, they had no way
21     of determining whether it complied with NYL’s rules. Defendants were in sole
22     possession of this information.
23     150. Defendants knew these representations were false when they made them or
24     knew they did not have sufficient information to make the representations. With
25     respect to Defendants’ representations as to the Program’s compatibility with NYL’s
26     rules, Defendants either (1) knew what NYL’s rules were, in which case they knew
27     the Program did not and could not comply, or (2) they did not know the specifics of
28


       CLASS ACTION COMPLAINT FOR DAMAGES AND RELIEF AND DEMAND FOR JURY TRIAL
                                                42
     Case 8:23-cv-00705-DOC-KES Document 1 Filed 04/24/23 Page 43 of 45 Page ID #:43



1      NYL’s rules, in which case Defendants were reckless in representing the Program
2      complied with them in the absence of such information.
3      151. These affirmative acts had the potential to mislead and deceive when they
4      were performed and, in fact, did mislead and deceive Plaintiff and the Subclasses.
5      Unaware of the falsity of the representations, Plaintiff and members of the
6      Subclasses relied on these misrepresentations by purchasing the Program for
7      approximately $6,000. As such, Defendants committed unlawful practices pursuant
8      to the NJCFA. N.J. Stat. Ann. §§ 56.8-2.
9      152. By engaging in the conduct described above, Defendants knowingly
10     concealed, suppressed, and omitted material facts with the intent that Plaintiff and
11     the Subclasses rely upon such concealment, suppression, and omission in connection
12     with the sale and advertisement of the Predictable Premium program. As such,
13     Defendants committed unlawful practices pursuant to the CFA. N.J. Stat. Ann. §§
14     56.8-2.
15     153. Defendants also advertised the Predictable Premium program as part of a plan
16     or scheme not to sell the service as advertised. As such, Defendants committed
17     unlawful practices pursuant to the CFA. N.J. Stat. Ann. §§ 56.8-2.2.
18     154. Defendants’ representations regarding the Predictable Premium program
19     described above constitute “advertisements” as defined by N.J. Stat. Ann. § 56.8-
20     1(a).
21     155. The Predictable Premium program constitutes “merchandise” as defined by
22     N.J. Stat. Ann. § 56.8-1(c), as it is a good, commodity, or service offered to the
23     public for sale.
24     156. Plaintiff and the Subclass members are “persons” as defined by N.J. Stat. Ann.
25     § 56.8-1(d).
26     157. The transactions by which Plaintiffs and the Subclass members purchased or
27     subscribed to the Predictable Premium Program constitute “sales” as defined by N.J.
28     Stat. Ann. § 56.8-1(e).

       CLASS ACTION COMPLAINT FOR DAMAGES AND RELIEF AND DEMAND FOR JURY TRIAL
                                                  43
     Case 8:23-cv-00705-DOC-KES Document 1 Filed 04/24/23 Page 44 of 45 Page ID #:44



1      158. As a direct and proximate cause of their reliance on Defendants’
2      representations, Plaintiff and Subclass members have been injured, including but not
3      limited to the loss of their purchase payments of approximately $6,000 and other
4      monies spent in conjunction with implementing the Program’s strategies.
5      159. As a result, Plaintiff and the Subclasses seek a refund of all monies paid to
6      Defendants for the Predictable Premium Program, treble damages, interest,
7      attorneys’ fees, and fees and costs in an amount to be proven at trial. N.J. Stat. Ann.
8      § 56.8-2.11.
9                                   PRAYER FOR RELIEF
10           Plaintiff, on behalf of himself and the Classes, prays for relief and judgment
11     against Defendants as follows:
12        A. For an order certifying the proposed Classes and Subclasses pursuant to
13           Federal Rules of Civil Procedure, Rule 23;
14        B. For an order appointing Plaintiff and his counsel to represent the Classes and
15           Subclasses;
16        C. For actual and compensatory damages according to proof pursuant to code
17           and all other applicable laws and regulations;
18        D. For restitution to the extent permitted by applicable law;
19        E. For an order enjoining Defendants from continuing the unlawful, unfair, and
20           fraudulent acts and practices as set forth herein, including but not limited to
21           engaging in deceptive business practices, false advertising, and any other act
22           prohibited by law, including those set forth in this Complaint;
23        F. For punitive and treble damages to the extent permitted by applicable law;
24        G. For pre-judgment and post-judgment interest;
25        H. For an award of attorneys’ fees, costs, and expenses as authorized by
26           applicable law; and
27        I. For such other and further relief as this Court may deem just and proper.
28


       CLASS ACTION COMPLAINT FOR DAMAGES AND RELIEF AND DEMAND FOR JURY TRIAL
                                                 44
     Case 8:23-cv-00705-DOC-KES Document 1 Filed 04/24/23 Page 45 of 45 Page ID #:45



1                                DEMAND FOR JURY TRIAL
2             Plaintiff, on behalf of himself and the Classes, demands a trial by jury on all
3      issues so triable.
4

5      Dated this 24th day of April, 2023.
                                                 /s/ Elizabeth Kramer
6

7
                                                Elizabeth Kramer

8
                                                Julie Erickson, Esq.
                                                Elizabeth Kramer, Esq
9                                               Kevin Osborne, Esq.
                                                ERICKSON KRAMER OSBORNE LLP
10                                              44 Tehama Street
                                                San Francisco, CA 94105
11
                                                Attorneys for Plaintiff
12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28


       CLASS ACTION COMPLAINT FOR DAMAGES AND RELIEF AND DEMAND FOR JURY TRIAL
                                                 45
